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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS

TRUE SOCIAL EQUITY IN                               )
CANNABIS, an unincorporated                         )
association,                                        )
                                                    )
Plaintiff,                                          )
                                                    )
v.                                                  )
                                                    )
AKERNA CORP., GREEN                                 )
THUMB INDUSTRIES, INC.,                             )
ILDISP LLC, VERANO                                  )
HOLDINGS CORP., SURTERRA                            )
HOLDINGS INC.                                       )
                                                    )
Defendants.                                         )

      COMPLAINT FOR EQUITABLE RELIEF UNDER THE CLAYTON ACT

           Plaintiff, True Social Equity in Cannabis, an unincorporated association,

through Plaintiff’s lawyer, Mark T. Lavery, Esq. of Langone Law LLC, brings this

action for injunctive relief to enforce Section 8 of the Clayton Act pursuant to

Section 16 of the Clayton Act and states in support as follows;

I. Nature of the Action

       1. This case seeks to redress anticompetitive conduct involving the “Chicago

           Cartel” in the state-protected cannabis market in Illinois.

       2. The “Chicago Cartel” state-protected cannabis operation was started in 2014

           as part of a partnership between Michael McClain of the “Madigan

           Racketeering Enterprise”1, Terrance Gainer of the U.S. Capitol Police and

           heir to the Jim Beam bourbon fortune, Benjamin Kovler. See Associated


1
    See USA v. Madigan, 1:22-cr-00115 (N.D. Ill.)

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         Press, “Former US Capitol Police chief at ease with pot industry job”,

         November 15, 2015, (“Gainer got a call from Mike McClain, an old college

         friend and former Illinois state legislator. McClain had helped Green Thumb

         launch in Chicago, and he suggested Gainer work with it to develop security

         measures.”).

    3. The partnership between McClain, Gainer and Kovler would morph into a

         much larger group of people and entities controlled by Defendant Green

         Thumb Industries Inc. (Green Thumb).

    4. Under antitrust law, including Section 8 of the Clayton Act, Defendants are

         considered competitors in the state-protected cannabis markets in Illinois

         and the United States.

    5. But, in fact, Defendants Akerna Corp. (Akerna), Verano Holdings Inc.

         (Verano) and Surterra Holdings Inc. (Surterra) are members of the “Chicago

         Cartel”.

    6. Akerna is controlled by the Pritzker family.

    7. Surterra is controlled by the Wrigley family.

    8. The Pritzkers, Wrigleys and Kovlers are some of the wealthiest families in

         Chicago and, in fact, are some of the wealthiest families in the world.

    9. Despite this wealth, members of these families have decided to enter the

         lucrative but dangerous world of marketing, licensing, distributing and

         selling marijuana in Illinois and the United States.2


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 While not necessarily germane to this lawsuit, Plaintiff contends that the Controlled Substances Act (CSA) that
prohibits the distribution and sale of certain hemp plants is unconstitutional on its face and as applied due to the

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    10. The “Chicago Cartel” has successfully monopolized the Illinois branded

         marijuana market.

    11. “Branded Cannabis” or “branded marijuana” is the industry term for the

         group of marijuana products sold in state-protected retail locations.

    12. The “Chicago Cartel” has a monopoly in the Illinois branded marijuana

         market.

    13. Akerna, Green Thumb, Verano and Surterra are nominally “horizontal

         competitors” but in fact collude together as part of the “Chicago Cartel”.

    14. The “Chicago Cartel” owns and operates cultivation, manufacturing and

         retail dispensary businesses vertically integrated across “limited legal supply

         markets” including Illinois.

    15. The “Chicago Cartel” can control prices in these markets because supply and

         demand can be reasonably predicted and forecast by the “Chicago Cartel”

         members who share price information and collude to charge monopolist

         prices.

    16. Akerna is key to this information sharing about supply, demand and price.

    17. Akerna is a company that provides technology to “Chicago Cartel” members

         to track prices, supply and demand in these state-protected marijuana

         markets.


racially discriminatory intent behind that law. See e.g. United States v. Carrillo-Lopez, 555 F. Supp. 3d 996, 1027 (D.
Nev. 2021). This case focuses on the application of the Clayton Antitrust Act to the subject misconduct not the CSA.
Defendants have regularly submitted documentation to the Department of Justice as required by the Hart Scott
Rodino Antitrust Improvements Act. See e.g. Antitrust News: Antitrust Division Head Contests Whistleblower
Allegations of Agency's Politicization Under Barr, 2020 WL 3637367 (Assistant Attorney General Makan Delrahim
disputes claims that DOJ antitrust investigations of marijuana organizations were improper as claimed by
disgruntled DOJ employee John Elias).

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    18. Akerna also obtains licenses for sellers in state-protected markets for

       valuable consideration as part of its “clean sweep” services.

    19. Akerna “competes” with Green Thumb, Verano and Surterra to obtain the

       licenses in state-protected markets.

    20. The “Chicago Cartel” charges supracompetitive prices for marijuana and

       charge the highest prices for marijuana in the United States in Illinois.

    21. According to a member of the “Chicago Cartel” operation, a pound of branded

       marijuana sells for $300 in a competitive market like California in 2022 but

       sells for over $4000 in Illinois in 2022.

    22. The “Chicago Cartel” controls the vast majority of the production and sale of

       state-protected marijuana in Illinois.

    23. Green Thumb sells marijuana product grown or manufactured by Surterra

       and Verano.

    24. Verano sells marijuana product grown or manufactured by Surterra and

       Green Thumb.

    25. Surterra sells marijuana product grown or manufactured by Verano and

       Green Thumb.

    26. Verano and Green Thumb use a shell company Defendant ILDISP LLC to

       operate dispensaries together in Illinois.

    27. Green Thumb, Verano and Surterra have worked together for years to keep

       marijuana prices high in Illinois in part through sharing supply, demand and

       price information.



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    28. Akerna, Green Thumb, Verano and Surterra are all competitors for purposes

       of Section 8 of the Clayton Act.

    29. “Chicago Cartel” members Akerna, Green Thumb, Verano and Surterra have

       interlocking directorates and managers in violation of Section 8 of the

       Clayton Act.

    30. Anthony Georgiadis is chief financial officer and a board member of Green

       Thumb Industries Inc. and he is also a board member of competitor Akerna

       Corp.

    31. Green Thumb and Verano are persons and competitors under Section 8 of the

       Clayton Act.

    32. Green Thumb and Verano are directors, officers and managers of Defendant

       ILDISP LLC which operates a number of state-protected marijuana retail

       locations in downstate Illinois.

    33. Edward Brown is former CEO of Patron Spirits, the seller of tequila.

    34. Edward Brown now works for the Wrigley family as a director of Surterra

       Holdings Inc.

    35. Surterra owns Windy City Cannabis which is a competitor of Green Thumb

       and Verano in the state-protected marijuana market in Illinois for purposes

       of Section 8 of the Clayton Act.

    36. Edward Brown is also a director of competitor Verano.

    37. Defendants have violated 15 U.S.C. § 19 due to the interlocking structures

       described herein.



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    38. This case is about seeking equitable relief under federal antitrust law to

       maintain fair competition.

II. Jurisdiction, Venue and Standing for Plaintiff

    39. This action is filed pursuant to Section 16 of the Clayton Act, as amended, 15

       U.S.C. § 26, to obtain equitable relief to prevent a violation of the antitrust

       laws including Section 8 of the Clayton Act, as amended, 15 U.S.C. § 19.

    40. Defendants license, grow, produce, transport and market marijuana and this

       is commercial activity that substantially affects and is in the flow of

       interstate commerce.

    41. Defendants are all known in the state-protected marijuana industry as

       “multi-state operators”.

    42. These “multi-state operators” are engaged in activity that substantially

       affects and is in the flow of interstate commerce.

    43. Defendants all operate in this judicial district and sell tens of millions of

       dollars worth of marijuana in this judicial district.

    44. The Court has jurisdiction over the subject matter of this action and

       jurisdiction over the parties pursuant to 15 U.S.C. §26 and 28 U.S.C. §§ 1331

       and 1337.

    45. True Social Equity in Cannabis is an unincorporated association consisting of

       many members who are citizens of Illinois and other states in the United

       States who are united against cannabis monopolization.




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    46. Since October 16, 2020, members of True Social Equity in Cannabis have

       been protesting cannabis monopolization by members of the “Chicago Cartel”

       in Illinois and the United States.

    47. Members of True Social Equity in Cannabis consist of consumers of branded

       marijuana in Illinois, prospective consumers of branded marijuana in other

       states, workers in the branded marijuana industry, entrepreneurs in

       ancillary hemp-related ventures and competitors or potential competitors of

       Defendants.

    48. Plaintiff has suffered injury-in-fact and antitrust injury in the form of higher

       prices paid by members, lost job opportunities for members, the inability of

       members to obtain licenses in state-protected marijuana markets and

       investment losses.

III. Defendants

    49. Green Thumb Industries Inc. is a citizen of Illinois with its corporate

       headquarters in Chicago, Illinois.

    50. Verano Holdings Inc. is a citizen of Illinois with its corporate headquarters in

       Chicago, Illinois.

    51. Akerna Corp. is a Delaware Corporation with its headquarters in Denver,

       Colorado.

    52. Akerna Corp. provides technology services to Green Thumb and Verano to

       track prices, supply and demand for marijuana in this judicial district.




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      53. Surterra Holding Corp. is a Delaware Corporation with headquarters in St.

         Petersburg, Florida.

      54. Surterra owns the “Windy City Cannabis” state-protected marijuana retail

         locations located in this judicial district.

      55. ILDISP LLC is a citizen of Illinois and operator of state-protected marijuana

         retail locations nominally owned by Green Thumb and Verano.

IV.      Equitable Relief Under Section 16 of Clayton Act is Appropriate

      56. The Clayton Act at 15 U.S.C. § 26 provides in relevant part that, “Any

         person, firm, corporation, or association shall be entitled to sue for and have

         injunctive relief, in any court of the United States having jurisdiction over

         the parties, against threatened loss or damage by a violation of the antitrust

         laws, including sections 13, 14, 18, and 19 of this title,…”

      57. The “Chicago Cartel” and its interlocking directorates threaten loss and

         damage to the members of the True Social Equity in Cannabis association.

      58. Akerna, Green Thumb, Verano and Serterra all exchange information and

         work to support the interests of the “Chicago Cartel” in order to extract

         monopolist prices from consumers as demonstrated by their flagrant and

         willful violation of Section 8 of the Clayton Act as expressed by the

         interlocking directorates and management described herein.

      59. True Social Equity in Cannabis has standing as an association to bring this

         action for injunctive relief under 15 U.S.C. § 26 for violation of 15 U.S.C. § 19.




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V. Prayer for Relief

        WHEREFORE, Plaintiff requests and prays for relief in the form of judgment

in Plaintiff’s favor against Defendants for (1) injunctive relief enjoining Defendants

from marketing, selling, licensing, distributing and growing marijuana in Illinois or

the United States; (2) an order divesting Defendants of all assets; (2) an award of a

reasonable attorney’s fee and costs and (3) any other relief that the Court deems

just.

                                               Respectfully Submitted,

                                               /s/ Mark T. Lavery
                                                 Plaintiff’s Counsel
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